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         Exhibit EE
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               UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT


                        Nos. 15-2272 and 15-2294



              IN RE: NATIONAL FOOTBALL LEAGUE
           PLAYERS’ CONCUSSION INJURY LITIGATION
           ______________________________________________

            On Appeal from the United States District Court
                for the Eastern District of Pennsylvania


      OPPOSITION OF CLASS PLAINTIFFS-APPELLEES
             TO ARMSTRONG APPELLANTS’
            MOTION FOR JUDICIAL NOTICE


     Class Plaintiffs-Appellees (“Plaintiffs”) respectfully submit this

Opposition to the Armstrong Appellants’ Motion for Judicial Notice,

filed in Appeals Nos. 15-2272 and 15-2294 (“Motion”). Counsel for the

NFL Parties-Appellees have authorized the undersigned to represent

that they concur that the Motion should be denied.

     The Armstrong Appellants make no argument that the multiple

complaints they seek to lodge with this Court have not been long

available. They do not claim that they were prevented in any way from
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presenting them to the district court; that the district court was

unaware of the information (despite its role in overseeing the MDL); or

that the information would have impacted the outcome had the court

addressed it in its decision.       Instead, they seek to make a specific

argument about a specific claimed conflict for the first time on appeal –

and not only on appeal, but as part of a reply brief.1

       The Armstrong Appellants knew that if they held back this

particular argument until the reply stage on appeal, Plaintiffs would

not have an opportunity to oppose this new argument in writing. Their

attempt to deprive not only the appellees, but also the district court, of

the opportunity to address this particular argument relating to the

adequacy of counsel for Subclass 1 – by asking this Court in the first

instance to take “judicial notice” of complaints that have been on file

below for years – should not be countenanced.

1  In their reply brief, the Armstrong Appellants contend that they
addressed the issue of Mr. Levin’s adequacy in their opening brief at
pages 42-43. See Armstrong Reply Brief [Doc. No. 003112095595] at 7-
8. The thrust of the few sentences in their opening brief allegedly
addressing this issue were actually directed at attorneys’ fees, an issue
which the district court has yet to address. See Armstrong Opening
Brief [Doc. No. 003112073560], at 42-43. In contrast, the Armstrong
Appellants spend seven pages, a third of their reply brief, attacking Mr.
Levin’s adequacy to serve as subclass counsel. See Armstrong Reply
Brief at 6-13.
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     Of paramount concern, however, is not the prejudice to the parties

of raising an issue for the first time in a reply brief on appeal. Rather,

of necessity, appellate courts sit in review of actions taken by a district

court. The issue on appeal is always whether the court below erred.

This, in turn, requires that a reviewing appellate court examine the

record as it stood before the district court, not as it has been reshaped

on appeal by some clever lawyering. Thus, “[j]udicial notice may be

taken at any stage of proceeding … including appeal … as long as it is

not unfair to a party to do so and does not undermine the trial court’s

factfinding authority.” In re Indian Palms Assocs., 61 F.3d 197, 205 (3d

Cir. 1995) (internal quotations and citations omitted; emphasis added).

Put simply, the district court did not abuse its discretion by not

considering arguments that were available to the Armstrong Appellants

in the proceedings below, but never raised.        “The Court of Appeals

exists to correct errors made by the district courts, and it makes no

sense for an appellant to assert that the district court erred when it had

no opportunity to even address a particular issue.” Venuto v. Carella,




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Byrne, Bain, Gilfillin, Cecchi & Stewart, P.C., 11 F.3d 385, 393 (3d Cir.

1993) (Nygaard, J., concurring).2

     The combination of failing to raise arguments below and then

raising such arguments for the first time in a reply brief violates well-

settled law of this Court. The “tactic of reserving new arguments for [a]

reply brief amounts to impermissible ‘sandbagging.’” Rockwell Techs.,

LLC v. Spectra-Physics Laser, Inc., No. 00-589 GMS, 2002 WL 531555,

at *3 (D. Del. Mar. 26, 2002) (citing Jordan v. Bellinger, 2000 U.S. Dist.

LEXIS 19233, at *18 (D. Del. Apr. 28, 2000)). By waiting until the reply

brief, the Armstrong Appellants have deprived appellees, both Plaintiffs

and the NFL Parties, from addressing and responding to these

arguments and the use of the complaints to bolster them.

     Furthermore, the Third Circuit Practice Guide provides: “As the

name implies, a reply brief should respond to the arguments in the

appellee’s brief. New arguments are not permitted, nor should a reply

2 As Judge Ambro pointed out in his dissent from this Court’s rationale

for denying the Fed. R. Civ. P. 23(f) petition in In re NFL Players’
Concussion Injury Litig., 775 F.3d 570 (3d Cir. 2014), objectors were
creating “inefficient (indeed, chaotic) piecemeal litigation that would
interfere with the formal fairness hearing on the settlement.” Id. at 589
(Ambro, J., dissenting). This latest tactic similarly fits Judge Ambro’s
description.

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brief be used simply to restate or elaborate on an argument made in an

opening brief.” Bar Ass’n for the Third Fed. Cir., U.S. Court of Appeals

for the Third Cir. Practice Guide, at 17 (2012). Waiting until the reply

brief stage to submit these complaints that were readily available at the

time the opening brief was filed makes a mockery of the appellate

process.

       This Court has “repeatedly emphasized that failure to raise a

theory as an issue on appeal constitutes a waiver because ‘consideration

of that theory would vitiate the requirement of the Federal Rules of

Appellate Procedure and our own local rules that, absent extraordinary

circumstances, briefs must contain statements of all issues presented

for appeal, together with supporting arguments and citations.’” Int’l

Raw Materials, Ltd. v. Stauffer Chem. Co., 978 F.2d 1318, 1327 n.11

(1992) (quoting Simmons v. Philadelphia, 947 F.2d 1042, 1065 (3d Cir.

1991)).3 By raising the theory for the first time on appeal in their reply

brief, the Armstrong Appellants have waived the argument. Id. (citing

Hoxworth v. Blinder, Robinson & Co., 903 F.2d 186, 205 n.29 (3d Cir.

3 This particular argument as to Mr. Levin’s adequacy as counsel for
Subclass 1 clearly was not identified in the Armstrong Appellants’
Statement of the Issues. See Armstrong Opening Brief [Doc. No.
003112073560], at 4-5.
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1990) (“As a general matter, the courts of appeal will not consider

arguments raised on appeal for the first time in a reply brief,”)); accord

Norris v. Brooks, 794 F.3d 401, 406 (3d Cir. 2015); Brenner v. United

Bhd. of Carpenters and Joiners of Am., 927 F.2d 1283, 1298 (3d Cir.

1991).

     Critically, the Armstrong Appellants offer no explanation as to

why these materials and the related argument were not presented to

the district court (or, at a minimum, why they were not offered at the

time of the filing of their opening brief). It cannot be disputed that

these complaints were readily available. They date back to 2011 and

2012 and were filed on the PACER System. The objectors were

represented below by dozens of lawyers who knew about these

complaints and had easy access to them. The Armstrong Appellants

cannot credibly claim that these complaints are “newly discovered,”

having been publicly filed in or transferred to this MDL years before

final or even preliminary approval. Cf. Fed. R. Civ. P. 60(b) (defining

“newly discovered evidence” for purposes of granting relief from final

judgment as that “with reasonable diligence, could not have been

discovered in time to move for a new trial”).


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     At any rate, the district court was well aware that Mr. Levin

represented numerous clients who had already filed individual lawsuits

prior to the commencement of settlement negotiations. Indeed, all of

the members of the Executive and Steering Committees, who were

appointed by the district court when it initially assumed handling of

this MDL, represented the vast majority of those Retired NFL Football

Players who had cases on file. JA685-90. In light of the over 5,000

individually-represented retired players with cases on file, statistically,

some would be Subclass 1 members and some would be Subclass 2

members.    Therefore, the district court was aware of and implicitly

found no conflict or adequacy problems by virtue of Mr. Levin’s

individual representation of many class members, who necessarily

exhibited a variety of symptoms and conditions.           That the district

court’s 132-page opinion does not specifically discuss this issue among

the myriad issues actually raised by the objectors below, is a function of

the objectors’ failure to raise this particular adequacy issue with the

district court and with the precision and evidentiary support that they

have suddenly mustered in a reply brief on appeal. It cannot be said

that the district court was not mindful of this issue or that it erred in its


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finding of adequacy of representation, as to Mr. Levin, or as to any of

the other appointed Co-Lead Class Counsel, Subclass Counsel or Class

Counsel.4

     For the foregoing reasons, the Court should deny the Motion and

strike the portions of the Armstrong Appellants’ Reply Brief addressing

the issues discussed herein, particularly, pages 6 through 13, which rely

upon the materials at issue.


Dated: October 13, 2015                  Respectfully submitted,

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4 To the extent that these arguments relate to the attorneys’ fees issue,

the district court has not yet even been presented with a petition for
fees, let alone ruled on one. As such, the issue of fees is not properly
before this Court.

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                     CERTIFICATE OF SERVICE


     I, Christopher A. Seeger, hereby certify that on the 13th day of

October 2015, I electronically transmitted a true and correct copy of the

foregoing document, OPPOSITION OF CLASS PLAINTIFFS-

APPELLEES TO ARMSTRONG APPELLANTS’ MOTION FOR

JUDICIAL NOTICE, to the Clerk of the Court using the CM/ECF

System for filing and transmittal of a Notice of Electronic Filing to all

attorneys of record who are ECF registrants.

                                          /s/ Christopher A. Seeger
                                          Christopher A. Seeger




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